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 1
                               UNITED STATES DISTRICT COURT
 2                           NORTHERN DISTRICT OF CALIFORNIA
 3   THERESA SWEET, ALICIA DAVIS, TRESA                    Case No.: 19-cv-03674-WHA
     APODACA, CHENELLE ARCHIBALD,
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     DANIEL DEEGAN, SAMUEL HOOD, and
 5   JESSICA JACOBSON on behalf of themselves              [PROPOSED] ORDER SETTING
     and all others similarly situated,                    CASE MANAGEMENT CONFERENCE
 6                   Plaintiffs,
                     v.
 7   ELISABETH DEVOS, in her official capacity
     as Secretary of the United States Department of
 8
     Education,
 9           And
     THE UNITED STATES DEPARTMENT OF
10   EDUCATION,
                     Defendants.
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            Pursuant to Fed. R. Civ. P. 16 and Local Civil Rule 16-1(c), the Court ORDERS counsel
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     for all parties to appear for a case management conference Wednesday, August 26 at 8:30 a.m.
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     The parties are excused from filing a Joint Case Management Statement.
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19   IT IS SO ORDERED.
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     Dated: ____________                                          _______________________
21                                                                William H. Alsup
                                                                  United States District Judge
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28   [Proposed] Order Setting                                   Case No.: 19-cv-03674-WHA
     Case Management Conference
